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2    1007 7th Street, Suite 319
     Sacramento, CA 95814
3    Telephone: 916-442-5230
4    Attorney for:
     SARAH LANCASTER
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )       CASE NO.    CR S-08-392 GEB
                                   )
11                  Plaintiff,     )       STIPULATION AND [PROPOSED] ORDER
                                   )       CONTINUING SENTENCING HEARING
12        v.                       )
                                   )
13   SARAH LANCASTER, et. al,      )       DATE:    June 26, 2009
                                   )       TIME:    9:00 a.m.
14                  Defendants.    )       COURT:   Hon. Garland E. Burrell
     ______________________________)
15
16                                   Stipulation
17        The parties, through undersigned counsel, stipulate that the
18   judgement and sentencing hearing scheduled for June 26, 2009, may be
19   continued to August 28, 2009, at 9:00 a.m.              Scott Cameron, the
20   attorney for SARAH LANCASTER, was in trial in state court from March
21   25, 2009, through June 3, 2009.           As a result, Scott Cameron was
22   unavailable to travel to Nevada County for a pre-sentencing interview.
23   Probation Officer George Vidales is in training from June 8, 2009,
24   through June 26, 2009.        A pre-sentencing interview is presently
25   scheduled for June 30, 2009.
26        It is further stipulated that the date for the Pre-Sentence
27   Report to be filed with the court may be extended to August 7, 2009,
28   and the date for a Motion for Correction of the Pre-Sentence Report to

                                           1
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1    be served and filed may be extended to August 14, 2009.
2         The prosecutor has authorized defense counsel to sign this
3    stipulation on his behalf.
4
5    DATED: June 11, 2009                 LAWRENCE G. BROWN
                                          Acting United States Attorney
6
7
                                    by    /s/ Scott Cameron, for
8                                         Michael Beckwith
                                          Assistant U.S. Attorney
9
10   DATED: June 11, 2009
11                                  by    /s/ Scott N. Cameron
                                          Scott N. Cameron
12                                        Counsel for Scott N. Cameron
13
                                           Order
14
          Good cause appearing,
15
          The sentencing hearing scheduled for June 26, 2009, is continued
16
     to August 28, 2009, at 9:00 a.m.        The date for the Pre-Sentence Report
17
     to be filed with the court is extended to August 7, 2009, and the date
18
     for a Motion for Correction of the Pre-Sentence Report to be served
19
     and filed is extended to August 14, 2009.
20
21
          IT IS SO ORDERED.
22
23   Dated:     June 11, 2009

24
25                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
26
27
28

                                              2
